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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 IN RE:                                               Chapter 11
                                                      Case No. 20-10343 (LSS)
 BOY SCOUTS OF AMERICA AND
 DELAWARE BSA, LLC,                                   (Jointly Administered)

                                 Debtors.




                       DECLARATION OF STAMATIOS STAMOULIS

         I, Stamatios Stamoulis, pursuant to the provisions of 28 U.S.C. § 1746 declare under the

penalty of perjury as follows:

         1.     I am a member of Stamoulis & Weinblatt LLC and a member of the bar of this

Court.

         2.     Attached as Exhibit A is a demonstrative illustrating the use of form signatures in

place of signature from actual claimants.

         3.     Exhibit A displays screenshots from the signature pages of seventy-two different

proofs of claim, all of which purport to be signed by the claimant—under penalty of perjury—

and all of which contain the same signature.

         4.     In each example, someone has checked the box to affirm that the claimant is

signing. These are just samples.

         5.     Attached as Exhibit B is a list of close to four hundred proofs of claim, identified

by claim number, that bear the same signature.




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Dated: May 12, 2021                       Respectfully Submitted,



                                          By: /s/ Stamatios Stamoulis

                                          STAMATIOS STAMOULIS




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                    EXHIBIT B
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